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IN THE UNITED STATES DISTRICT CGURT
DIBTRICT OF SOUTH DAKOTA
NDRTHERN DIUIBIDN

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JAMES F. MUNDT aka Case No. Ge-lDET
J@UHES PHEHDT,

Plaintiff,

_vs_

STIPULATION FOR DIBMIEEAL
GUARANTY NATIONAL INEURANCE
CGMPANY, a oorporation,

Defendant.

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The above-entitled matter having been fully settled,
oompromised, and adjusted, IT IS HEREEY STIPULHTED AND AGREED by
and between the parties hereto, by the undersigned, their
attorneys of reoord {who by their signatures hereto warrant and
oertify their authority to enter into this stipulationj, that the
above-entitled action and all causes of aotion set out or
referred to in the pleadings may be dismissed upon the merits,
with prejudioe, without further notioe to any party hereto and
without taxation of oosts. Findings of Faot and Conelusions of
Law are waived.

SMEINSf P.C.

  

-'?) -.'- ' ` .
Dated: “' 11 old By
Attorney for Plaintiff
TEB Vander Horok
Post Office Box n
Britton. SD 5?430-0319
Telephone Nn. 505'443-5964

RICHARDSC}Nf WYLY, WISE, SAUCK
& HIE L_

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Dated: Ey

 

 

